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                            United States District Court
                              District of Minnesota

Jonathan D. Gibson,                           Court file no. 13-cv-1310 (DSD/JSM)

                   Plaintiff,

v.                                          Stipulation of Dismissal with Prejudice

Consumer Portfolio Services, Inc., Ms.
Stewart, Does 1-10,

                   Defendants.


      The parties hereby stipulate and agree, by and through their attorneys,

that Plaintiff’s claims against Defendants may be dismissed with prejudice,

without additional costs, disbursements, or attorney fees to any party.




                                 [signatures follow]




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